        Case 2:20-cv-02321-DJH Document 1-2 Filed 12/02/20 Page 1 of 52



           PLAINTIFFS’ COMPLAINT EXHIBIT CORRELATION TABLE
____________________________________________________________________________




DOCKET       EXHIBIT                              EXHIBIT TITLE
 NO.          NO.

  1-1       EXH 1      Redacted - Venezuela Smartmatic Affidavit 11.116.2020
  1-2       EXH 2      Absentee Survey Analysis - Briggs Rpt.

  1-3       EXH 2 A    Absentee Survey Wisconsin Analysis – Briggs Rpt. re Attachment
                          AZ
  1-4       EXH 2 B    Briggs - attachment GA re 5 state Rpt. Absentee Live ID Topline

  1-5       EXH 2 C    Briggs - attachment PA re 5 state Rpt. Absentee Live ID Topline

  1-6       EXH 2 D    Briggs - Attachment WI Unreturned Live Agent Topline [26655]

  1-7       EXH 2 E    Briggs - Attachment MI Unreturned Live Agent Topline

  1-8       EXH 2 F    Briggs CV
  1-9       EXH 3      Re Braynard


  1-11      EXH 4      Redacted Expert affidavit - Statistician

  1-12      EXH 5      Diane Serra Declaration (3 sep pdfs for pages 1-3)

  1-13      EXH 6      Joseph Oltmann Affidavit

  1-14      EXH 7      Harri Hursti Declaration Doc 809 US DIST CT 3 8-24-20

  1-15      EXH 8      Affidavit of Anna Mercedes Diaz Cardozo in ENGLISH

  1-16      EXH 9      Keshel Expert Affidavit

  1-17      EXH 9      Keshel Expert attachment
            A&B
     Case 2:20-cv-02321-DJH Document 1-2 Filed 12/02/20 Page 2 of 52




  1-18   EXH 10    Andrew W. Appel, et al., “Ballot Marking Devices (BMDs) Cannot
                      Assure the Will of the Voters” at (Dec. 27, 2019)

  1-19   EXH 11    State of Texas Secretary of State Report of Review 20 //and 11B

  1-20   EXH 12    Spider Affidavit Redacted

  1-21   EXH 13    Redacted Declaration TPM 11 30 20 Redacted

  1-22   EXH 14    Declaration of Ronald Watkins 11 26 20
  1-23   EXH 15    Congresswoman Maloney letter re Smartmatica

  1-24   EXH 16    Senators Warren etc. letter re Dominion Voting Systems

  1-25   EXH 17    Ramsland Declaration

  1-26   EXH 18    Joint FBI CISSA Cyber Security Advisory Exhibit
                       [2305843009225631231]

  1-27   EXH 19    MCB Redacted Fraud Declaration 11 30 20 Redacted

EXH 20                  Mark Low Declaration
EXH 21                  Burns Decl Declaration
EXH 22                  Greg Wodynski Declaration
EXH 23                  Linda Brickman Declaration
Case 2:20-cv-02321-DJH Document 1-2 Filed 12/02/20 Page 3 of 52



  Dated December 2, 2020

                            Attorneys for Plaintiffs

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Case 2:20-cv-02321-DJH Document 1-2 Filed 12/02/20 Page 4 of 52




            EXHIBIT 1
      Case 2:20-cv-02321-DJH Document 1-2 Filed 12/02/20 Page 5 of 52




          DECLARATION OF

I,                                  , hereby state the following:

     1.



     2.    I am an adult of sound mine. All statements in this declaration are based
           on my personal knowledge and are true and correct.

     3.    I am making this statement voluntarily and on my own initiative. I have
           not been promised, nor do I expect to receive, anything in exchange for my
           testimony and giving this statement. I have no expectation of any profit
           or reward and understand that there are those who may seek to harm me
           for what I say in this statement. I have not participated in any political
           process in the United States, have not supported any candidate for office
           in the United States, am not legally permitted to vote in the United
           States, and have never attempted to vote in the United States.

     4.    I want to alert the public and let the world know the truth about the
           corruption, manipulation, and lies being committed by a conspiracy of
           people and companies intent upon betraying the honest people of the
           United States and their legally constituted institutions and fundamental
           rights as citizens. This conspiracy began more than a decade ago in
           Venezuela and has spread to countries all over the world. It is a conspiracy
           to wrongfully gain and keep power and wealth. It involves political
           leaders, powerful companies, and other persons whose purpose is to gain
           and keep power by changing the free will of the people and subverting the
           proper course of governing.

     5.
                                                  Over the course of my career, I
           specialized in the marines



     6.    Due to my training in special operations and my extensive military and
           academic formations, I was selected for the national security guard detail
           of the President of Venezuela.




                                                          - Page 1 of 8
Case 2:20-cv-02321-DJH Document 1-2 Filed 12/02/20 Page 6 of 52
 Case 2:20-cv-02321-DJH Document 1-2 Filed 12/02/20 Page 7 of 52




     sophisticated electronic voting system that permitted the leaders of the
     Venezuelan government to manipulate the tabulation of votes for national
     and local elections and select the winner of those elections in order to gain
     and maintain their power.

10. Importantly, I was a direct witness to the creation and operation of an
    electronic voting system in a conspiracy between a company known as
    Smartmatic and the leaders of conspiracy with the Venezuelan
    government. This conspiracy specifically involved President Hugo Chavez
    Frias, the person in charge of the National Electoral Council named Jorge
    Rodriguez, and principals, representatives, and personnel from
    Smartmatic which included                                          . The
    purpose of this conspiracy was to create and operate a voting system that
    could change the votes in elections from votes against persons running
    the Venezuelan government to votes in their favor in order to maintain
    control of the government.

11. In mid-February of 2009, there was a national referendum to change the
    Constitution of Venezuela to end term limits for elected officials, including
    the President of Venezuela. The referendum passed. This permitted Hugo
    Chavez to be re-elected an unlimited number of times.

12. After passage of the referendum, President Chavez instructed me to make
    arrangements for him to meet with Jorge Rodriguez, then President of the
    National Electoral Council, and three executives from Smartmatic.
    Among the three Smartmatic representatives were

                   President Chavez had multiple meetings with Rodriguez
     and the Smartmatic team at which I was present. In the first of four
     meetings, Jorge Rodriguez promoted the idea to create software that
     would manipulate elections. Chavez was very excited and made it clear
     that he would provide whatever Smartmatic needed. He wanted them
     immediately to create a voting system which would ensure that any time
     anything was going to be voted on the voting system would guarantee
     results that Chavez wanted. Chavez offered Smartmatic many
     inducements, including large sums of money, for Smartmatic to create or
     modify the voting system so that it would guarantee Chavez would win
     every election cycle. Smartmatic’s team agreed to create such a system
     and did so.

13. I arranged and attended three more meetings between President Chavez
    and the representatives from Smartmatic at which details of the new

                                                   - Page 3 of 8
 Case 2:20-cv-02321-DJH Document 1-2 Filed 12/02/20 Page 8 of 52




    voting system were discussed and agreed upon. For each of these
    meetings, I communicated directly with                     on details of
    where and when to meet, where the participants would be picked up and
    delivered to the meetings, and what was to be accomplished. At these
    meetings, the participants called their project the “Chavez revolution.”
    From that point on, Chavez never lost any election. In fact, he was able
    to ensure wins for himself, his party, Congress persons and mayors from
    townships.

14. Smartmatic’s electoral technology was called “Sistema de Gestión
    Electoral” (the “Electoral Management System”). Smartmatic was a
    pioneer in this area of computing systems. Their system provided for
    transmission of voting data over the internet to a computerized central
    tabulating center. The voting machines themselves had a digital display,
    fingerprint recognition feature to identify the voter, and printed out the
    voter’s ballot. The voter’s thumbprint was linked to a computerized record
    of that voter’s identity. Smartmatic created and operated the entire
    system.

15. Chavez was most insistent that Smartmatic design the system in a way
    that the system could change the vote of each voter without being
    detected. He wanted the software itself to function in such a manner that
    if the voter were to place their thumb print or fingerprint on a scanner,
    then the thumbprint would be tied to a record of the voter’s name and
    identity as having voted, but that voter would not tracked to the changed
    vote. He made it clear that the system would have to be setup to not leave
    any evidence of the changed vote for a specific voter and that there would
    be no evidence to show and nothing to contradict that the name or the
    fingerprint or thumb print was going with a changed vote. Smartmatic
    agreed to create such a system and produced the software and hardware
    that accomplished that result for President Chavez.

16. After the Smartmatic Electoral Management System was put in place, I
    closely observed several elections where the results were manipulated
    using Smartmatic software. One such election was in December 2006
    when Chavez was running against Rosales. Chavez won with a landslide
    over Manuel Rosales - a margin of nearly 6 million votes for Chavez versus
    3.7 million for Rosales.

17. On April 14, 2013, I witnessed another Venezuelan national election in
    which the Smartmatic Electoral Management System was used to
    manipulate and change the results for the person to succeed Hugo Chávez

                                                 - Page 4 of 8
 Case 2:20-cv-02321-DJH Document 1-2 Filed 12/02/20 Page 9 of 52




    as President. In that election, Nicolás Maduro ran against Capriles
    Radonsky.

                 Inside that location was a control room in which there were
    multiple digital display screens – TV screens – for results of voting in each
    state in Venezuela. The actual voting results were fed into that room and
    onto the displays over an internet feed, which was connected to a
    sophisticated computer system created by Smartmatic. People in that
    room were able to see in “real time” whether the vote that came through
    the electronic voting system was in their favor or against them. If one
    looked at any particular screen, they could determine that the vote from
    any specific area or as a national total was going against either candidate.
    Persons controlling the vote tabulation computer had the ability to change
    the reporting of votes by moving votes from one candidate to another by
    using the Smartmatic software.

18. By two o'clock in the afternoon on that election day Capriles Radonsky
    was ahead of Nicolás Maduro by two million votes. When Maduro and his
    supporters realized the size of Radonsky’s lead they were worried that
    they were in a crisis mode and would lose the election. The Smartmatic
    machines used for voting in each state were connected to the internet and
    reported their information over the internet to the Caracas control center
    in real-time. So, the decision was made to reset the entire system.
    Maduro’s and his supporters ordered the network controllers to take the
    internet itself offline in practically all parts in Venezuela and to change
    the results.

19. It took the voting system operators approximately two hours to make the
    adjustments in the vote from Radonsky to Maduro. Then, when they
    turned the internet back on and the on-line reporting was up and running
    again, they checked each screen state by state to be certain where they
    could see that each vote was changed in favor of Nicholas Maduro. At that
    moment the Smartmatic system changed votes that were for Capriles
    Radonsky to Maduro. By the time the system operators finish, they had
    achieved a convincing, but narrow victory of 200,000 votes for Maduro.

20. After Smartmatic created the voting system President Chavez wanted, he
    exported the software and system all over Latin America. It was sent to
    Bolivia, Nicaragua, Argentina, Ecuador, and Chile – countries that were
    in alliance with President Chavez. This was a group of leaders who
    wanted to be able to guarantee they maintained power in their countries.
    When Chavez died, Smartmatic was in a position of being the only

                                                  - Page 5 of 8
Case 2:20-cv-02321-DJH Document 1-2 Filed 12/02/20 Page 10 of 52




    company that could guarantee results in Venezuelan elections for the
    party in power.

21. I want to point out that the software and fundamental design of the
    electronic electoral system and software of Dominion and other election
    tabulating companies relies upon software that is a descendant of the
    Smartmatic Electoral Management System. In short, the Smartmatic
    software is in the DNA of every vote tabulating company’s software and
    system.

22. Dominion is one of three major companies that tabulates votes in the
    United States. Dominion uses the same methods and fundamentally same
    software design for the storage, transfer and computation of voter
    identification data and voting data. Dominion and Smartmatic did
    business together. The software, hardware and system have the same
    fundamental flaws which allow multiple opportunities to corrupt the data
    and mask the process in a way that the average person cannot detect any
    fraud or manipulation. The fact that the voting machine displays a voting
    result that the voter intends and then prints out a paper ballot which
    reflects that change does not matter. It is the software that counts the
    digitized vote and reports the results. The software itself is the one that
    changes the information electronically to the result that the operator of
    the software and vote counting system intends to produce that counts.
    That’s how it is done. So the software, the software itself configures the
    vote and voting result -- changing the selection made by the voter. The
    software decides the result regardless of what the voter votes.

23. All of the computer controlled voting tabulation is done in a closed
    environment so that the voter and any observer cannot detect what is
    taking place unless there is a malfunction or other event which causes the
    observer to question the process. I saw first-hand that the manipulation
    and changing of votes can be done in real-time at the secret counting
    center which existed in Caracas, Venezuela. For me it was something
    very surprising and disturbing. I was in awe because I had never been
    present to actually see it occur and I saw it happen. So, I learned first-
    hand that it doesn’t matter what the voter decides or what the paper
    ballot says. It’s the software operator and the software that decides what
    counts – not the voter.

24. If one questions the reliability of my observations, they only have to read
    the words of
                                                               a time period in

                                                  - Page 6 of 8
Case 2:20-cv-02321-DJH Document 1-2 Filed 12/02/20 Page 11 of 52




      which Smartmatic had possession of all the votes and the voting, the votes
      themselves and the voting information at their disposition in Venezuela.

                he was assuring that the voting system implemented or used
      by Smartmatic was completely secure, that it could not be compromised,
      was not able to be altered.

25. But later, in 2017 when there were elections where Maduro was running
    and elections for legislators in Venezuela,           and Smartmatic broke
    their secrecy pact with the government of Venezuela. He made a public
    announcement through the media in which he stated that all the
    Smartmatic voting machines used during those elections were totally
    manipulated and they were manipulated by the electoral council of
    Venezuela back then.                stated that all of the votes for Nicholas
    Maduro and the other persons running for the legislature were
    manipulated and they actually had lost. So I think that's the greatest
    proof that the fraud can be carried out and will be denied by the software
    company that               admitted publicly that Smartmatic had created,
    used and still uses vote counting software that can be manipulated or
    altered.

26. I am alarmed because of what is occurring in plain sight during this 2020
    election for President of the United States. The circumstances and events
    are eerily reminiscent of what happened with Smartmatic software
    electronically changing votes in the 2013 presidential election in
    Venezuela. What happened in the United States was that the vote
    counting was abruptly stopped in five states using Dominion software. At
    the time that vote counting was stopped, Donald Trump was significantly
    ahead in the votes. Then during the wee hours of the morning, when there
    was no voting occurring and the vote count reporting was off-line,
    something significantly changed. When the vote reporting resumed the
    very next morning there was a very pronounced change in voting in favor
    of the opposing candidate, Joe Biden.

27.                                                  I have worked in gathering
      information, researching, and working with information technology.
      That's what I know how to do and the special knowledge that I have. Due
      to these recent election events, I contacted a number of reliable and
      intelligent ex-co-workers of mine that are still informants and work with
      the intelligence community. I asked for them to give me information that
      was up-to-date information in as far as how all these businesses are
      acting, what actions they are taking.

                                                   - Page 7 of 8
Case 2:20-cv-02321-DJH Document 1-2 Filed 12/02/20 Page 12 of 52
Case 2:20-cv-02321-DJH Document 1-2 Filed 12/02/20 Page 13 of 52




             EXHIBIT 2
                 Case 2:20-cv-02321-DJH Document 1-2 Filed 12/02/20 Page 14 of 52




    An Analysis of Surveys Regarding Absentee Ballots Across Several States
                                                    William M. Briggs
                                                    November 23, 2020


1     Summary
Survey data was collected from individuals in several states, sampling those who the states listed as not returning absentee
ballots. The data was provided by Matt Braynard.
    The survey asked respondents whether they (a) had ever requested an absentee ballot, and, if so, (b) whether they had
in fact returned this ballot. From this sample I produce predictions of the total numbers of: Error #1, those who were
recorded as receiving absentee ballots without requesting them; and Error #2, those who returned absentee ballots but
whose votes went missing (i.e. marked as unreturned).
    The sizes of both errors were large in each state. The states were Georgia, Michigan, Wisconsin, and Arizona where
ballots were across parties. Pennsylvania data was for Republicans only.


2     Analysis Description
Each analysis was carried out separately for each state. The analysis used (a) the number of absentee ballots recorded as
unreturned, (b) the total responding to the survey, (c) the total of those saying they did not request a ballot, (d) the total
of those saying they did request a ballot, and of these (e) the number saying they returned their ballots. I assume survery
respondents are representative and the data is accurate.
    From these data a simple parameter-free predictive model was used to calculate the probability of all possible outcomes.
Pictures of these probabilities were derived, and the 95% prediction interval of the relevant numbers was calculated. The
pictures appear in the Appendix at the end. They are summarized here with their 95% prediction intervals.
    Error #1: being recorded as sent an absentee ballot without requesting one.
    Error #2: sending back an absentee ballot and having it recorded as not returned.
      State          Unreturned ballots         Error #1          Error #2
      Georgia               138,029           16,938–22,771      31,559–38,866
      Michigan              139,190           29,611–36,529      27,928–34,710
      Pennsylvania∗         165,412           32,414–37,444      26,954–31,643
      Wisconsin              96,771           16,316–19,273      13,991–16,757
      Arizona               518,560         208,333–229,937 78,714–94,975
    ∗
      Number for Pennsylvania represent Republican ballots only.
    Ballots that were not requested, and ballots returned and marked as not returned were classed as troublesome. The
estimated average number of troublesome ballots for each state were then calculated using the table above and are presented
next.
     State            Unreturned ballots     Estimated average           Percent
                                            troublesome ballots
      Georgia               138,029                  53,489                 39%
      Michigan              139,190                  62,517                 45%
      Pennsylvania∗         165,412                  61,780                 37%
      Wisconsin              96,771                  29,594                 31%
      Arizona               518,560                 303,305                 58%
    ∗
      Number for Pennsylvania represent Republican ballots only.



3     Conclusion
There are clearly a large number of troublesome ballots in each state investigated. Ballots marked as not returned that were
never requested are clearly an error of some kind. The error is not small as a percent of the total recorded unreturned ballots.


                                                               1
                              Case 2:20-cv-02321-DJH Document 1-2 Filed 12/02/20 Page 15 of 52
    Ballots sent back and unrecorded is a separate error. These represent votes that have gone missing, a serious mistake.
The number of these missing ballots is also large in each state.
    Survey respondents were not asked if they received an unrequested ballot whether they sent these ballots back. This is
clearly a lively possibility, and represents a third possible source of error, including the potential of voting twice (once by
absentee and once at the polls). No estimates or likelihood can be calculated for this potential error due to absence of data.


4           Declaration of William M. Briggs, PhD
1. My name is William M. Briggs. I am over 18 years of age and am competent to testify in this action. All of the facts
stated herein are true and based on my personal knowledge.
2. I received a Ph.D of Statistics from Cornell University in 2004.
3. I am currently a statistical consultant. I make this declaration in my personal capacity.
4. I have analyzed data regarding responses to questions relating to mail ballot requests, returns and related issues.
5. I attest to a reasonable degree of professional certainty that the resulting analysis are accurate.
I declare under the penalty of perjury that the foregoing is true and correct.




                                                23 November 2020
    William M. Briggs


5           Appendix
The probability pictures for each state for each outcome as mentioned above.
                            Probability of numbers of un−requested absentee ballots listed as
                            not returned for Georgia
                  0.00025                       There is a 95 % chance from
                                                between 16938 and 22771
                  0.00020                       absentee ballots were not
    Probability




                  0.00015                       requested but marked as not
                                                returned
                  0.00010
                  0.00005
                  0.00000
                              0        20,000         40,000      60,000             80,000     100,000   120,000   140,000
                                                               Ballots Listed as Not Returned

                            Probability of numbers of absentee ballots returned but listed as
                            not returned for Georgia
                  0.00020                                 There is a 95 % chance from
                                                          between 31559 and 38866
                  0.00015                                 absentee ballots were
    Probability




                                                          returned but marked as not
                  0.00010                                 returned

                  0.00005

                  0.00000
                              0        20,000         40,000      60,000             80,000     100,000   120,000   140,000
                                                               Ballots Listed as Not Returned




                                                                                           2
                          Case 2:20-cv-02321-DJH Document 1-2 Filed 12/02/20 Page 16 of 52

                        Probability of numbers of un−requested absentee ballots listed as
                        not returned for Michigan
                                                       There is a 95 % chance from
              0.00020
                                                       between 29611 and 36529
                                                       absentee ballots were not
Probability



              0.00015
                                                       requested but marked as not
              0.00010                                  returned

              0.00005

              0.00000
                          0        20,000         40,000            60,000            80,000       100,000     120,000      140,000
                                                                Ballots Listed as Not Returned

                        Probability of numbers of absentee ballots returned but listed as
                        not returned for Michigan
                                                      There is a 95 % chance from
              0.00020                                 between 27928 and 34710
                                                      absentee ballots were
Probability




              0.00015
                                                      returned but marked as not
              0.00010                                 returned

              0.00005

              0.00000
                          0        20,000         40,000            60,000            80,000       100,000     120,000      140,000
                                                                Ballots Listed as Not Returned

                        Probability of numbers of un−requested absentee ballots listed as
                        not returned for Pennsylvania
              0.00030                          There is a 95 % chance from
              0.00025                          between 32414 and 37444
                                               absentee ballots were not
Probability




              0.00020
                                               requested but marked as not
              0.00015                          returned
              0.00010
              0.00005
              0.00000
                          0      20,000      40,000        60,000            80,000      100,000    120,000   140,000    160,000
                                                                Ballots Listed as Not Returned

                        Probability of numbers of absentee ballots returned but listed as
                        not returned for Pennsylvania
              0.00035
                                            There is a 95 % chance from
              0.00030
                                            between 26954 and 31643
              0.00025
                                            absentee ballots were
Probability




              0.00020                       returned but marked as not
              0.00015                       returned
              0.00010
              0.00005
              0.00000
                          0      20,000      40,000        60,000            80,000      100,000    120,000   140,000    160,000
                                                                Ballots Listed as Not Returned




                                                                                               3
                             Case 2:20-cv-02321-DJH Document 1-2 Filed 12/02/20 Page 17 of 52

                       Probability of numbers of un−requested absentee ballots listed as
                       not returned for Wisconsin
              0.0005                        There is a 95 % chance from
                                            between 16316 and 19273
              0.0004
                                            absentee ballots were not
Probability




              0.0003                        requested but marked as not
                                            returned
              0.0002

              0.0001

              0.0000
                         0       10,000   20,000      30,000      40,000        50,000         60,000         70,000        80,000       90,000
                                                                 Ballots Listed as Not Returned

                       Probability of numbers of absentee ballots returned but listed as
                       not returned for Wisconsin
                                          There is a 95 % chance from
              0.0005
                                          between 13991 and 16757
              0.0004                      absentee ballots were
Probability




              0.0003                      returned but marked as not
                                          returned
              0.0002
              0.0001
              0.0000
                         0       10,000    20,000     30,000      40,000        50,000         60,000         70,000        80,000       90,000
                                                                 Ballots Listed as Not Returned

                        Probability of numbers of un−requested absentee ballots listed as
                        not returned for Arizona
              0.00007                                                      There is a 95 % chance from
              0.00006                                                      between 208333 and 229937
              0.00005                                                      absentee ballots were not
Probability




              0.00004                                                      requested but marked as not
              0.00003                                                      returned
              0.00002
              0.00001
              0.00000
                             0   50,000   100,000   150,000    200,000     250,000       300,000    350,000       400,000      450,000    500,000
                                                                  Ballots Listed as Not Returned

                        Probability of numbers of absentee ballots returned but listed as
                        not returned for Arizona
              0.00010
                                             There is a 95 % chance from
              0.00008                        between 78714 and 94975
                                             absentee ballots were
Probability




              0.00006
                                             returned but marked as not
              0.00004                        returned

              0.00002

              0.00000
                             0   50,000   100,000   150,000    200,000     250,000       300,000    350,000       400,000      450,000     500,000
                                                                  Ballots Listed as Not Returned




                                                                                               4
Case 2:20-cv-02321-DJH Document 1-2 Filed 12/02/20 Page 18 of 52




         EXHIBIT 2 A
AZ Unreturned Live Agent - Mass Markets

                                                             11/15/2020 11/16/2020 11/17/2020
  5,604 Completes                                                  745      1,881      2,978

    684    Q4=01                    1-Completed Survey              116       212        356
  1,945    VM Message Left          2-Message Delivered VM           90       657      1,198
  2,975    up/RC                    3-Refused                       539     1,012      1,424
 74,437    No Answer                4-No Answer                   6,764    25,056     42,617
  1,663    Numbers/Language         5-Bad Number                    245       384      1,034


100.00% List Penetration

 81,708 Data Loads

Q1 - May I please speak to <lead
                                    Response
on screen>?                                                  11/15/2020 11/16/2020 11/17/2020
   1,812                 40.05%     A-Reached Target                307        554        951
     335                   7.40%    Uncertain                        80        124        131
   2,377                 52.54%     X = Refused                     382        854      1,141
       0                   0.00%
   4,524                100.00%     Sum of All Responses           769      1,532      2,223


Q2 - Did you request Absentee
                                    Response
Ballot in state of AZ?
                                                                                                Case 2:20-cv-02321-DJH Document 1-2 Filed 12/02/20 Page 19 of 52




                                                             11/15/2020 11/16/2020 11/17/2020
   1,120                     45.00% A-Yes [Go to Q3]               210        361        549
    885                 35.56%     B-No [Go to Q4]                  162        286        437
     24                  0.96%     Member) [Go to Q3]                 5          9         10
     21                  0.84%     Member) [Go to Q4]                 3         10          8
     72                  2.89%     E-Unsure [Go to Close A]          10         18         44
      7                  0.28%     [Go to Close A]                    -          1          6
    360                 14.46%     X = Refused                       45         69        246



   2,489               100.00% Sum of All Responses                 435        754      1,300

Q3 - Did you mail your ballot      Response                   11/15/2020 11/16/2020 11/17/2020
     344                 16.16%    A-Yes [Go to Q4]                   67        112        165
     696                 32.69%    B-No [Go to Close A]              116        237        343
      11                   0.52%   Member) [Go to Q4]                  2          2          7
       9                   0.42%   Member) [Go to Close A]             1          4          4
      14                   0.66%   Close A]                            3          4          7
   1,055                 49.55%    X = Refused                       201        326        528



   2,129               100.00% Sum of All Responses                 390        685      1,054




Q4 - Can you please give us the
best phone number to reach you Response
at?                                                           11/15/2020 11/16/2020 11/17/2020
                                    es (Capture umber) [Go to
                                                                                                 Case 2:20-cv-02321-DJH Document 1-2 Filed 12/02/20 Page 20 of 52




     678                 82.48% Q5]                                  116        212        350
     144                 17.52% B-Refused [Go to Q5]                  38         50         56
      0                  0.00%
      0                  0.00%
    822                100.00% Sum of All Responses              154        262       406

Q5 - Can you provide us your
                                  Response
email address?                                             11/15/2020 11/16/2020 11/17/2020
     127                 18.57%   01-Yes [Go to Close B]           24         36         67
     557                 81.43%   02-No [Go to Close B]            92        176        289
       0                  0.00%
     684               100.00%    Sum of All Responses           116        212       356
                                                                                              Case 2:20-cv-02321-DJH Document 1-2 Filed 12/02/20 Page 21 of 52
Case 2:20-cv-02321-DJH Document 1-2 Filed 12/02/20 Page 22 of 52




         EXHIBIT 2 B
AZ Unreturned Live Agent - Mass Markets

                                                             11/15/2020 11/16/2020 11/17/2020
  5,604 Completes                                                  745      1,881      2,978

    684    Q4=01                    1-Completed Survey              116       212        356
  1,945    VM Message Left          2-Message Delivered VM           90       657      1,198
  2,975    up/RC                    3-Refused                       539     1,012      1,424
 74,437    No Answer                4-No Answer                   6,764    25,056     42,617
  1,663    Numbers/Language         5-Bad Number                    245       384      1,034


100.00% List Penetration

 81,708 Data Loads

Q1 - May I please speak to <lead
                                    Response
on screen>?                                                  11/15/2020 11/16/2020 11/17/2020
   1,812                 40.05%     A-Reached Target                307        554        951
     335                   7.40%    Uncertain                        80        124        131
   2,377                 52.54%     X = Refused                     382        854      1,141
       0                   0.00%
   4,524                100.00%     Sum of All Responses           769      1,532      2,223


Q2 - Did you request Absentee
                                    Response
Ballot in state of AZ?
                                                                                                Case 2:20-cv-02321-DJH Document 1-2 Filed 12/02/20 Page 23 of 52




                                                             11/15/2020 11/16/2020 11/17/2020
   1,120                     45.00% A-Yes [Go to Q3]               210        361        549
    885                 35.56%     B-No [Go to Q4]                  162        286        437
     24                  0.96%     Member) [Go to Q3]                 5          9         10
     21                  0.84%     Member) [Go to Q4]                 3         10          8
     72                  2.89%     E-Unsure [Go to Close A]          10         18         44
      7                  0.28%     [Go to Close A]                    -          1          6
    360                 14.46%     X = Refused                       45         69        246



   2,489               100.00% Sum of All Responses                 435        754      1,300

Q3 - Did you mail your ballot      Response                   11/15/2020 11/16/2020 11/17/2020
     344                 16.16%    A-Yes [Go to Q4]                   67        112        165
     696                 32.69%    B-No [Go to Close A]              116        237        343
      11                   0.52%   Member) [Go to Q4]                  2          2          7
       9                   0.42%   Member) [Go to Close A]             1          4          4
      14                   0.66%   Close A]                            3          4          7
   1,055                 49.55%    X = Refused                       201        326        528



   2,129               100.00% Sum of All Responses                 390        685      1,054




Q4 - Can you please give us the
best phone number to reach you Response
at?                                                           11/15/2020 11/16/2020 11/17/2020
                                    es (Capture umber) [Go to
                                                                                                 Case 2:20-cv-02321-DJH Document 1-2 Filed 12/02/20 Page 24 of 52




     678                 82.48% Q5]                                  116        212        350
     144                 17.52% B-Refused [Go to Q5]                  38         50         56
      0                  0.00%
      0                  0.00%
    822                100.00% Sum of All Responses              154        262       406

Q5 - Can you provide us your
                                  Response
email address?                                             11/15/2020 11/16/2020 11/17/2020
     127                 18.57%   01-Yes [Go to Close B]           24         36         67
     557                 81.43%   02-No [Go to Close B]            92        176        289
       0                  0.00%
     684               100.00%    Sum of All Responses           116        212       356
                                                                                              Case 2:20-cv-02321-DJH Document 1-2 Filed 12/02/20 Page 25 of 52
Case 2:20-cv-02321-DJH Document 1-2 Filed 12/02/20 Page 26 of 52




         EXHIBIT 2 C
MI Unreturned Live Agent - Mass Markets

                                                               11/15/2020 11/16/2020 11/17/2020
  3,815 Completes                                                     -         990      2,825

    248   Q4=01                       1-Completed Survey                  -       36       212
  1,257   VM Message Left             2-Message Delivered VM              -      388       869
  2,310   up/RC                       3-Refused                           -      566     1,744
 62,569   No Answer                   4-No Answer                         -   15,482    47,087
  3,644   Numbers/Language            5-Bad Number                        -      570     3,074


100.00% List Penetration

 70,030 Data Loads

Q1 - May I please speak to <lead on
                                      Response
screen>?                                                       11/15/2020 11/16/2020 11/17/2020
     958                     23.65%   A-Reached Target                  -        158        800
     142                      3.51%   Uncertain                         -         57         85
   2,950                     72.84%   X = Refused                       -        883      2,067
       0                      0.00%
   4,050                   100.00%    Sum of All Responses            -       1,098      2,952


Q2 - Did you request Absentee
                                      Response
Ballot in state of MI?
                                                                                                  Case 2:20-cv-02321-DJH Document 1-2 Filed 12/02/20 Page 27 of 52




                                                               11/15/2020 11/16/2020 11/17/2020
    752                     49.64% A-Yes [Go to Q3]                       -     167        585
    239                     15.78%     B-No [Go to Q4]                       -      39        200
     50                      3.30%     Member) [Go to Q3]                    -       5         45
     17                      1.12%     Member) [Go to Q4]                    -       2         15
     37                      2.44%     E-Unsure [Go to Close A]              -       4         33
     11                      0.73%     Moment [Go to Close A]                -       2          9
    409                     27.00%     X = Refused                           -      63        346



   1,515                   100.00% Sum of All Responses                  -         282      1,233

Q3 - Did you mail your ballot back?    Response                   11/15/2020 11/16/2020 11/17/2020
     232                     21.28%    A-Yes [Go to Q4]                    -         41        191
     472                     43.30%    B-No [Go to Close A]                -        109        363
      10                       0.92%   Member) [Go to Q4]                  -          2          8
      28                       2.57%   Member) [Go to Close A]             -          2         26
      22                       2.02%   Close A]                            -          5         17
     326                     29.91%    X = Refused                         -         60        266
                                                                           -

   1,090                   100.00% Sum of All Responses                  -         219        871




Q4 - Can you please give us the
best phone number to reach you         Response
at?                                                               11/15/2020 11/16/2020 11/17/2020
                                       es (Capture umber) [Go
                                                                                                     Case 2:20-cv-02321-DJH Document 1-2 Filed 12/02/20 Page 28 of 52




    246                     69.89% to Q5]                                    -      36        210
    106                     30.11% B-Refused [Go to Q5]                      -      27         79
      0                     0.00%
      0                     0.00%
    352                   100.00% Sum of All Responses               -          63       289

Q5 - Can you provide us your email
                                     Response
address?                                                      11/15/2020 11/16/2020 11/17/2020
      18                     7.26%   01-Yes [Go to Close B]            -          5         13
     230                   92.74%    02-No [Go to Close B]             -         31        199
       0                     0.00%
     248                  100.00%    Sum of All Responses            -          36       212
                                                                                                 Case 2:20-cv-02321-DJH Document 1-2 Filed 12/02/20 Page 29 of 52
Case 2:20-cv-02321-DJH Document 1-2 Filed 12/02/20 Page 30 of 52




         EXHIBIT 2 D
0270 PA Absentee Live ID Topline

                                                                 11/9/2020 11/10/2020 11/11/2020
    18037 Completes                                                   4419      13618          0

       834   survey** - Q4=01    status = C                           178        656
    14,203   Machines            status = AM                         3465      10738
     3,000   Hang up/RC          status = R, IR, RC, DC               776       2224
     3,521   Numbers/Languag     status = D, BC,WN, NE                556       2965
         0   MA                  status = MA

   87.70% List Penetration

    24,581 Data Loads                                              24,581

Q1 - May I please speak to
                                 Response                        9-Nov      10-Nov     11-Nov
<lead on screen>?
     2,262             75.86%    1. Reached Target [Go to Q2].        593      1,669
       422             14.15%    Q2].                                 102        320
       298               9.99%   X = Refused <Go to CLOSE A>           77        221
       739             24.78%    Q = Hangup <Go to CLOSE A>           160        579
     2,982            100.00%    Sum of All Responses                 932       2789            0


Q2 - Did you request an
                                 Response                        9-Nov      10-Nov     11-Nov
absentee ballot?
                                                                                                    Case 2:20-cv-02321-DJH Document 1-2 Filed 12/02/20 Page 31 of 52




     1,114              43.91% 1. Yes. [Go to Go to Q3].              331        783
       531              20.93% 2. No. [Go to Q4].                     131        400
        36              1.42%   confirmed “Yes” [Go to Q3]          12         24
        25              0.99%   confirmed “No” [Go to Q4]            9         16
        91              3.59%   5. Unsure. [Go to Q3].              25         66
        89              3.51%   moment. [Go to Close A]             17         72
       544             21.44%   A]                                 105        439
       107              4.22%   X = Refused <Go to CLOSE A>         29         78
       147              5.79%   Q = Hangup <Go to CLOSE A>          36        111
     2,537            100.00%   Sum of All Responses               695       1989            0


Q3 - Did you mail back that
                                Response                       9-Nov     10-Nov     11-Nov
ballot?

       452             39.75% 1. Yes. [Go to Go to Q4].             90        362
       632             55.58% 2. No [Go to Close A].               229        403
        11              0.97% confirmed “Yes” [Go to Q4]             1         10
        11              0.97% confirmed “No” [Go to Close A]         4          7
        15              1.32% 5. Unsure. [Go to Close A].            6          9
         2              0.18% moment. [Go to Close A]                0          2
        14              1.23% X = Refused <Go to CLOSE A>            5          9
        13              1.14% Q = Hangup <Go to CLOSE A>             8          5
     1,137            100.00% Sum of All Responses                 343        807            0

Q4 - Can you please give us
the best phone number to        Response                       9-Nov     10-Nov     11-Nov
reach you at?
       834             87.61%   01 = Yes <Go to CLOSE B>           178        656
       118             12.39%   X = Refused <Go to CLOSE A>         36         82
                                                                                                 Case 2:20-cv-02321-DJH Document 1-2 Filed 12/02/20 Page 32 of 52




         67             7.04%   Q = Hangup <Go to CLOSE A>          17         50
       952            100.00%   Sum of All Responses               231        788            0
Case 2:20-cv-02321-DJH Document 1-2 Filed 12/02/20 Page 33 of 52




         EXHIBIT 2 E
0276 GA Unreturned_Absentee Live ID Topline

                                                                      11/16/2020 11/17/2020
    15179 Completes                                                         8143       7036

       184   Q5=01 or 02              status = C                             64        120
    13,479   Answering Machines       status = AM                          7090       6389
     1,516   up/RC                    status = R, IR, RC, DC                989        527
     4,902   Numbers/Language         status = D, BC,WN, NE                2436       2466
         0   MA                       status = MA                             0          0

   58.45% List Penetration

    34,355 Data Loads                                                    34,355

Q1 - May I please speak to <lead on
                                      Response                         16-Nov     17-Nov
screen>?
       767                   65.28%   1. Reached Target [Go to Q2].         446        321
       255                   21.70%   [Go to Q2].                           165         90
       153                   13.02%   X = Refused <Go to CLOSE A>           104         49
       385                   32.77%   Q = Hangup <Go to CLOSE A>            267        118
     1,175                  100.00%   Sum of All Responses                  982        578


Q2 - Did you request an absentee
                                      Response                         16-Nov     17-Nov
ballot?
                                                                                              Case 2:20-cv-02321-DJH Document 1-2 Filed 12/02/20 Page 34 of 52




       591                   61.31% 1. Yes. [Go to Go to Q3].               343        248
       128                   13.28% 2. No. [Go to Q4].                       84         44
        39                  4.05%     member confirmed “Yes” [Go to            24         15
        14                  1.45%     member confirmed “No” [Go to Q4]         11          3
        40                  4.15%     5. Unsure. [Go to Q3].                   26         14
        82                  8.51%     moment. [Go to Close A]                  48         34
        70                  7.26%     X = Refused <Go to CLOSE A>              42         28
        58                  6.02%     Q = Hangup <Go to CLOSE A>               33         25
       964                100.00%     Sum of All Responses                    611        411



Q3 - Did you mail back that ballot? Response                             16-Nov     17-Nov


       240                 38.52% 1. Yes. [Go to Go to Q4].                   149         91
       317                 50.88% 2. No. [Go to Close A].                     174        143
        17                  2.73% member confirmed “Yes” [Go to                10          7
                                  member confirmed “No” [Go to
         9                  1.44%
                                  Close A]                                      4          5
        24                  3.85% 5. Unsure. [Go to Close A].                  14         10
        11                  1.77% moment. [Go to Close A]                       8          3
         5                  0.80% X = Refused <Go to CLOSE A>                   5          0
         7                  1.12% Q = Hangup <Go to CLOSE A>                    3          4
       623                100.00% Sum of All Responses                        367        263

Q4 - Can you please give us the
best phone number to reach you        Response                           16-Nov     17-Nov
at?
       313                  82.15%    01 = Yes <Go to Q5>                     205        108
        49                  12.86%    02 = No <Go to Q5>                       26         23
                                                                                               Case 2:20-cv-02321-DJH Document 1-2 Filed 12/02/20 Page 35 of 52




        19                    4.99%   X = Refused <Go to CLOSE A>              13          6
        18                    4.72%   Q = Hangup <Go to CLOSE A>               10          8
       381                100.00% Sum of All Responses                   254        145

Q5 - May we please have an email
                                      Response                      16-Nov     17-Nov
address to follow-up as well?
        99                  28.86%    01 = Yes <Go to CLOSE B>            64         35
       229                  66.76%    02 = No <Go to CLOSE B>            144         85
        15                    4.37%   X = Refused <Go to CLOSE A>         11          4
        19                    5.54%   Q = Hangup <Go to CLOSE A>          12          7
       343                 100.00%    Sum of All Responses               231        131
                                                                                          Case 2:20-cv-02321-DJH Document 1-2 Filed 12/02/20 Page 36 of 52
Case 2:20-cv-02321-DJH Document 1-2 Filed 12/02/20 Page 37 of 52




         EXHIBIT 2 F
Case 2:20-cv-02321-DJH Document 1-2 Filed 12/02/20 Page 38 of 52




  William M. Briggs, PhD
  Statistician to the Stars!
  matt@wmbriggs.com
  917-392-0691

                                   1. Experience
     (1) 2016: Author of Uncertainty: The Soul of Modeling, Probability & Sta-
         tistics, a book which argues for a complete and fundamental change in the
         philosophy and practice of probability and statistics. Eliminate hypothesis
         testing and estimation, and move to veriﬁable predictions. This includes
         AI and machine learning. Call this The Great Reset, but a good one.
     (2) 2004-2016 Adjunct Professor of Statistical Science, Cornell
         University, Ithaca, New York
         I taught a yearly Masters course to people who (rightfully) hate statistics.
         Interests: philosophy of science & probability, epistemology, epidemiology
         (ask me about the all-too-common epidemiologist fallacy), Bayesian sta-
         tistics, medicine, climatology & meteorology, goodness of forecasts, over-
         conﬁdence in science; public understanding of science, limitations of science,
         scientism; scholastic metaphysics (as it relates to epistemology).
     (3) 1998-present. Statistical consultant, Various companies
         Most of my time is spent coaxing people out of their money to tell them
         they are too sure of themselves. All manner of analyses cheerfully un-
         dertaken. Example: Fraud analysis; I created the Wall Street Journal’s
         College Rankings. I consultant regularly at Methodist and other hospitals,
         start-ups, start-downs, and with any instition willing to fork it over.
     (4) 2003-2010. Research Scientist, New York Methodist Hospital,
         New York
         Besides the usual, I sit/sat on the Institutional Review Committee to assess
         the statistics of proposed research. I was an Associate Editor for Monthly
         Weather Review (through 2011). Also a member of the American Meteoro-
         logical Society’s Probability and Statistics Committee (through 2011). At
         a hospital? Yes, sir; at a hospital. It rains there, too, you know.
     (5) Fall 2007, Fall 2010 Visiting Professor of Statistics, Depart-
         ment of Mathematics, Central Michigan University, Mt. Pleas-
         ant, MI
         Who doesn’t love a visit from a statistician? Ask me about the diﬀerence
         between “a degree” and “an education.”
     (6) 2003-2007, Assistant Professor Statistics, Weill Medical Col-
         lege of Cornell University, New York, New York
         Working here gave me a sincere appreciation of the inﬂuences of government
         money; grants galore.
     (7) 2002-2003. Gotham Risk Management, New York
         A start-up then, after Enron’s shenanigans, a start-down. We set future
         weather derivative and weather insurance contract prices that incorporated
         information from medium- and long-range weather and climate forecasts.
     (8) 1998-2002. DoubleClick, New York
         Lead statistician. Lot of computer this and thats; enormous datasets.
     (9) 1993-1998. Graduate student, Cornell University
                                           1
Case 2:20-cv-02321-DJH Document 1-2 Filed 12/02/20 Page 39 of 52




  2


           Meteorology, applied climatology, and ﬁnally statistics. Was Vice Chair of
           the graduate student government; probably elected thanks to a miracle.
      (10) 1992-1993. National Weather Service, Sault Ste. Marie, MI
           Forecast storms o’ the day and launched enormous balloons in the name of
           Science. My proudest moment came when I was able to convince an ancient
           IBM-AT machine to talk to an analog, 110 baud, phone-coupled modem,
           all using BASIC!
      (11) 1989-1992. Undergraduate student, Central Michigan Univer-
           sity
           Meteorology and mathematics. Started the local student meteorology group
           to chase tornadoes. Who knew Michigan had so few? Spent a summer at
           U Michigan playing with a (science-ﬁction-sounding) lidar.
      (12) 1983-1989. United States Air Force
           Cryptography and other secret stuﬀ. Shot things; learned pinochle. I
           adopted and became proﬁcient with a fascinating and versatile vocabulary.
           Irritate me for examples. TS/SCI, etc. security clearance (now inactive).


                                     2. Education
       (1) Ph.D., 2004, Cornell University. Statistics.
       (2) M.S., 1995, Cornell University. Atmospheric Science.
       (3) B.S., Summa Cum Laude, 1992, Central Michigan University. Meteorology
           and Math.


                                   3. Publications
  3.0.1. Popular.
       (1) Op-eds in various newspapers; articles in Stream, Crisis Magazine, The
           Remnant, Quadrant, Quirks; blog with ∼70,000 monthly readers. Various
           briefs submitted to government agencies, such as California Air Resources
           Board, Illinois Department of Natural Resources. Talks and holding-forths
           of all kinds.

  3.0.2. Books.
       (1) Richards, JW, WM Briggs, and D Axe, 2020. UThe Price of Panic: How
           the Tyranny of Experts Turned a Pandemic into a Catastrophe. Regnery.
           Professors Jay Richards, William Briggs, and Douglas Axe take a deep dive
           into the crucial questions on the minds of millions of Americans during one
           of the most jarring and unprecedented global events in a generation.
       (2) Briggs, WM., 2016. Uncertainty: The Soul of Modeling, Probability &
           Statistics. Springer. Philosophy of probability and statistics. A new (old)
           way to view and to use statistics, a way that doesn’t lead to heartbreak
           and pandemic over-certainty, like current methods do.
       (3) Briggs, WM., 2008 Breaking the Law of Averages: Real Life Probability and
           Statistics in Plain English. Lulu Press, New York. Free text for undergrad-
           uates.
       (4) Briggs, WM., 2006 So You Think You’re Psychic? Lulu Press, New York.
           Hint: I’ll bet you’re not.
Case 2:20-cv-02321-DJH Document 1-2 Filed 12/02/20 Page 40 of 52




                                                                                 3


  3.0.3. Methods.



     (1) Briggs, WM and J.C. Hanekamp, 2020. Uncertainty In The MAN Data
         Calibration & Trend Estimates. Atmospheric Environment, In review.
     (2) Briggs, WM and J.C. Hanekamp, 2020. Adjustments to the Ryden & Mc-
         Neil Ammonia Flux Model. Soil Use and Management, In review.
     (3) Briggs, William M., 2020. Parameter-Centric Analysis Grossly Exaggerates
         Certainty. In Data Science for Financial Econometrics, V Kreinovich, NN
         Thach, ND Trung, DV Thanh (eds.), In press.
     (4) Briggs, WM, HT Nguyen, D Traﬁmow, 2019. Don’t Test, Decide. In
         Behavioral Predictive Modeling in Econometrics, Springer, V Kreinovich, S
         Sriboonchitta (eds.). In press.
     (5) Briggs, William M. and HT Nguyen, 2019. Clarifying ASA’s view on p-
         values in hypothesis testing. Asian Journal of Business and Economics,
         03(02), 1–16.
     (6) Briggs, William M., 2019. Reality-Based Probability & Statistics: Solv-
         ing The Evidential Crisis (invited paper). Asian Journal of Business and
         Economics, 03(01), 37–80.
     (7) Briggs, William M., 2019. Everything Wrong with P-Values Under One
         Roof. In Beyond Traditional Probabilistic Methods in Economics, V Kreinovich,
         NN Thach, ND Trung, DV Thanh (eds.), pp 22—44.
     (8) Briggs, WM, HT Nguyen, D Traﬁmow, 2019. The Replacement for Hy-
         pothesis Testing. In Structural Changes and Their Econometric Modeling,
         Springer, V Kreinovich, S Sriboonchitta (eds.), pp 3—17.
     (9) Traﬁmow, D, V Amrhein, CN Areshenkoﬀ, C Barrera-Causil, ..., WM
         Briggs, (45 others), 2018. Manipulating the alpha level cannot cure sig-
         niﬁcance testing. Frontiers in Psychology, 9, 699. doi.org/10.3389/ fp-
         syg.2018.00699.
    (10) Briggs, WM, 2018. Testing, Prediction, and Cause in Econometric Models.
         In Econometrics for Financial Applications, ed. Anh, Dong, Kreinovich,
         and Thach. Springer, New York, pp 3–19.
    (11) Briggs, WM, 2017. The Substitute for p-Values. JASA, 112, 897–898.
    (12) J.C. Hanekamp, M. Crok, M. Briggs, 2017. Ammoniak in Nederland.
         Enkele kritische wetenschappelijke kanttekeningen. V-focus, Wageningen.
    (13) Briggs, WM, 2017. Math: Old, New, and Equalitarian. Academic Ques-
         tions, 30(4), 508–513.
    (14) Monckton, C, W Soon, D Legates, ... (several others), WM Briggs 2018. On
         an error in applying feedback theory to climate. In submission (currently
         J. Climate).
    (15) Briggs, WM, JC Hanekamp, M Crok, 2017. Comment on Goedhart and
         Huijsmans. Soil Use and Management, 33(4), 603–604.
    (16) Briggs, WM, JC Hanekamp, M Crok, 2017. Response to van Pul, van
         Zanten and Wichink Kruit. Soil Use and Management, 33(4), 609–610.
    (17) Jaap C. Hanekamp, William M. Briggs, and Marcel Crock, 2016. A volatile
         discourse - reviewing aspects of ammonia emissions, models, and atmo-
         spheric concentrations in The Netherlands. Soil Use and Management,
         33(2), 276–287.
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  4


      (18) Christopher Monckton of Brenchley, Willie Soon, David Legates, William
           Briggs, 2015. Keeping it simple: the value of an irreducibly simple climate
           model. Science Bulletin. August 2015, Volume 60, Issue 15, pp 1378–1390.
      (19) Briggs, WM, 2015. The Third Way Of Probability & Statistics: Beyond
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  12


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Case 2:20-cv-02321-DJH Document 1-2 Filed 12/02/20 Page 51 of 52




             EXHIBIT 3
        Case 2:20-cv-02321-DJH Document 1-2 Filed 12/02/20 Page 52 of 52




Matt Braynard on Twitter: "Update: -Residency Analysis of ABS/EV Voters These are the two indicators
of someone no longer eligible to vote due to residency: NCOA = Voters who filed change of address to
another state. SVR = Subsequent Voter Registration in another state Merged = NCOA+SVR Deduped" /
Twitter
